












Dismissed and Memorandum Opinion filed July 29, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00391-CR

NO. 14-10-00392-CR

____________

&nbsp;

ALEJANDRO SAM GRAY, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 212th District Court

Galveston County, Texas

Trial Court Cause Nos. 09CR0645 &amp;
09CR0646

&nbsp;



&nbsp;

MEMORANDUM
OPINION

A written request to withdraw the notices of appeal,
personally signed by appellant, has been filed with this court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this court has not delivered an opinion, we grant
appellant=s request.

Accordingly, we order the appeals dismissed.&nbsp; We direct the
clerk of the court to issue the mandates of the court immediately.

&nbsp;

PER CURIAM

Panel consists of Chief Justice
Hedges and Justices Yates and Boyce.

Do Not Publish C Tex. R. App. P. 47.2(b)





